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                                 AFFIDAVIT
     I, Elliott Peterson, being duly sworn, declare and state as

follows:

                              I. INTRODUCTION

      1.   I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed for

approximately twelve years.        I am currently assigned to the

FBI’s Anchorage Field Office, where I specialize in the

investigation of computer and high-technology crimes, including

computer intrusions, denial of service attacks, and other types

of malicious computer activity.           During my career as an FBI SA,

I have participated in numerous cyber-related investigations.

In addition, I have received both formal and informal training

from the FBI and other institutions regarding computer-related

investigations and computer technology.

                          II. PURPOSE OF AFFIDAVIT

      2.   This affidavit is made in support of a criminal

complaint against and arrest warrant for AHMED SALAH YOUSIF OMER
(“AHMED”), for a violation of 18 U.S.C. § 371, Conspiracy to

violate 18 U.S.C. § 1030(a)(5)(A), (c)(4)(B)(i), (c)(4)(A)(i)(I)

and (VI) (Intentionally Damaging a Protected Computer).

      3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant, and it does not purport to set forth all of my

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knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only, and all dates and times listed are on or about

those indicated.

                   III. SUMMARY OF PROBABLE CAUSE

      4.   Since early 2023, I have been investigating an online

organization calling itself “Anonymous Sudan,” which has

conducted many significant Distributed-Denial-of-Service (DDoS)

attacks 1 against numerous victims around the world and continues

to claim credit almost daily for new attacks as of the time of

this writing.

      5.    Many U.S. companies, including Cloudflare, Microsoft,

PayPal, X (formerly Twitter), and Yahoo have suffered high-

profile attacks by Anonymous Sudan in the last year.           There are

many more companies that have been threatened with attacks by

Anonymous Sudan, or which Anonymous Sudan has claimed to have

attacked, but for which I have not yet independently verified

damages associated with the attacks.        For most victims, attacks

appear to have caused damage to their websites and other

associated web-based functionalities, often rendering the

websites inaccessible for periods of time, or otherwise causing

the services to be degraded.      Some of these victims sustained

millions of dollars in losses from these attacks.          In addition,

     1 DDoS attacks are a type of network attack in which
multiple Internet-enabled devices are used to flood computers
with data or requests, for the purpose of rendering them
inaccessible to legitimate users or unable to communicate with
the Internet.
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Anonymous Sudan has claimed credit for attacks on sensitive

government and critical infrastructure targets both within the

United States and around the world, including the Department of

Justice, the Federal Bureau of Investigation, the State

Department, a major hospital in Los Angeles, transportation

infrastructure, educational infrastructure, and government

websites and infrastructure in Europe, Africa, and the Middle

East.

        6.    All of the attacks and targets referenced above are

merely those attributed to the administrators of Anonymous

Sudan.       The administrators also sell DDoS services to other

criminal actors.      My investigation to date has determined that

the Anonymous Sudan administrators employ a powerful DDoS tool

that has been called at various times the “Godzilla Botnet,” the

“Skynet Botnet,” and “InfraShutdown” (hereafter, the “Skynet

Botnet”).      While I have gathered evidence demonstrating the

administrators’ own criminal usage of this tool, I have also

found logs indicating that their paid customers are similarly

using this tool to launch DDoS attacks against various victims

worldwide.      Indeed, I have found more than 100 users of this

tool, including administrators and customers.           As described

below, I conducted an undercover test of the Skynet Botnet

posing as such a customer, which confirmed it in fact functions

to conduct denial-of-service attacks on victim computers for

paying customers.




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      7.   Based on my review of source code and administrator

logs contained on the command-and-control (C2) server 2 of the
Skynet Botnet, and further based on my review of online

accounts, including email and other services, including detailed

browsing histories and IP address records, I have determined

that Anonymous Sudan and the associated DDoS tool appear to be

primarily operated by AHMED and an additional co-conspirator.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.    Background on Anonymous Sudan and Its DDoS Tool

      8.   As noted above, “Anonymous Sudan” is an organization

that has claimed responsibility for or otherwise been identified

as conducting numerous DDoS attacks against entities both in the

United States and elsewhere.      The first part of its name appears

to be a reference to the former hacktivist collective known as

“Anonymous,” which was a decentralized international group and

movement primarily known for its various cyberattacks against

governments and corporations.       The latter part of the name,

“Sudan,” appears to be a reference to the country where Ahmed

formerly resided, as described below. 3       Anonymous Sudan has


     2 A command-and-control server, or “C2” server, is a server
used to control a botnet or other criminal tool by providing
instructions to other computer devices that have been configured
to listen for, and respond to, commands.
     3 There has been some media and threat research company
reporting suggesting that Anonymous Sudan may be state-sponsored
Russian actors masquerading as Sudanese actors with Islamist
motivations, and Anonymous Sudan has publicly claimed an
affiliation with pro-Russian hacktivist collective “Killnet.”
However, my investigation to date has indicated that Anonymous
Sudan is in fact led by Sudan-based individuals, including AHMED
and a co-conspirator, although the group may share ideologies
with, and sometimes appears to act in concert with, Killnet and
similar hacktivist groups.
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     B.    Notable Attacks Claimed by Anonymous Sudan

      9.   As noted above, some of the most damaging and highest

profile attacks by Anonymous Sudan were on platforms belonging

to Microsoft, which took place primarily in June 2023.           From

interviews with Microsoft employees, I learned that the widely

reported Skynet Botnet DDoS attacks conducted against Microsoft

impacted many portions of Microsoft’s Internet-based services,

such as Outlook 365 and other services hosted in Microsoft’s

Azure cloud platform.     According to Microsoft employees, these

outages, which required employees to spend time mitigating and

responding to the attacks, resulted in millions of dollars of

losses.    Microsoft related that these attacks caused disruptions

at a Microsoft data center in the Los Angeles region, among

other locations.

      10. PayPal Inc. was another high-profile victim of

Anonymous Sudan, which conducted multiple attacks against the

PayPal platform, including an attack it described as a “test” on

PayPal in July of 2023.      Anonymous Sudan warned in subsequent

posts that it would be targeting other organizations in the

United States, and that it “ha[d] an appointment with you

[PayPal] soon.    This was only a 30-second test attack.”         I

interviewed employees of PayPal after the attacks.          PayPal

employees told me that the attacks resulted in severe

disruptions to their platform causing millions of dollars of

losses.    PayPal performed its own independent investigation into

the Anonymous Sudan group, concluding that the attacks against

their platform were in fact launched by Anonymous Sudan, and


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further, that customer accounts belonging to members of

Anonymous Sudan likely existed on their platform, as discussed

further below.

      11. In July 2023, Anonymous Sudan claimed credit for

numerous attacks on Kenyan infrastructure.        The attacks lasted

more than a week, and they reportedly resulted in massive

disruption to government services.       They included an attack on

the Kenyan eCitizen portal, a government website that provides

over 5,000 government services, as well as a large bank, Kenya’s

largest telecom company, several media websites, ten university

websites, seven hospitals, and the website of Kenya’s transport

agency.   The group posted that it had attacked Kenya because

Kenya had “released statements doubting the sovereignty of [the

Sudanese] government.”      Screenshots relating to these attacks

are reproduced below.     The first image depicts a screenshot and

a claim that the train ticket purchasing system in Kenya was

rendered unavailable.     The second image, titled “Health in Kenya

‘Hospitals,’” purports to show several hospitals’ websites as

unavailable.




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countries for more than two hours, according to public

reporting.    The group posted the following message on Telegram:

“Make our message reach to [sic] Elon Musk: ‘Open Starlink in

Sudan.’”

      13. In November 2023, Anonymous Sudan attacked OpenAI, the

company that developed the large language model artificial

intelligence tool ChatGPT, causing intermittent outages to the

platform.    Anonymous Sudan claimed responsibility for the

attacks and warned of persistent DDoS attacks unless OpenAI

modified its chatbot’s behavior and dismissed its head of

research.

      14. On July 4 and 5, 2023, Anonymous Sudan claimed to have

attacked a major video game developer and publisher

headquartered in Los Angeles.       The group posted, “[Company

name], we have access to the back end of [game platform], and we

can shut down your servers whenever we want… This is all part of

our campaign against US companies of all kinds, and serves as a

reminder that no company can escape our reach.”          Employees of

the gaming company confirmed that the attacks took place and

told me that the attacks caused major disruptions to their

platform, specifically impacting a data center in Los Angeles.

      15. On July 8 and 9, 2023, the social media sites Tumblr

and Flickr were the targets of further attacks claimed by

Anonymous Sudan, according to public reporting.          Anonymous Sudan

posted the following thereafter: “any US company can be a

target, no matter who or what company, if it is American we will

target it.”


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      17. Also in October 2023, Anonymous Sudan claimed credit

for attacks against major U.S. and international news outlets,

including the Washington Post, the New York Post, CNN, the Daily

Mail, the Associated Press, and Fox News.         In these attacks,

Anonymous Sudan generally provided “proof” of damage in the form

third-party reports indicating that the websites had ceased

responding to requests during the time period of the attack.

The motivation for this series of attacks was attributed to

“Crush,” an Anonymous Sudan “spokesperson.”            Specifically,

“Crush” had threatened “in the coming period, we will target any

western media outlet that lies and posts false propaganda and

news.”

      18. On December 18, 2023, Anonymous Sudan claimed credit

for DDoS attacks against, among others, the International

Committee of the Red Cross.       A screenshot of this claim, noting

the purported reason for the attack and showing the

International Red Cross’s website as nonresponsive, appears

below:




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result of the attack, the hospital was forced to redirect

emergency room patients to other hospitals for several hours.

      20. Anonymous Sudan has continued their attack activity

with no signs of abatement, until today,

             I am currently monitoring three Telegram channels

associated with Anonymous Sudan.         The most active, currently

titled “Anonymous Sudan – InfraShudown,” is often updated

multiple times a day, including as recently as March 20, 2024,

and it generally claims credit for attacks against high-profile

targets.    These frequently include large tech companies,

internet service providers, and critical infrastructure

associated with countries around the world -- for example,

airport websites, telecommunications companies, financial

institutions, and government agency webpages.

      21. Below is a brief summary of Anonymous Sudan’s Telegram

postings during March 2024, which is illustrative of the group’s

wide-ranging and destructive ongoing activities, as well as the

general frequency of its attacks and posts:

           a.    March 1, 2024 – Anonymous Sudan claimed to have

launched DDoS attacks against Armenia Telecom Infrastructure,

causing an outage.    The post includes a screenshot indicating

massive disruptions to internet availability within Armenia.            In

the post, Anonymous Sudan suggested that anyone desiring similar

DDoS attack power could subscribe to their “InfraShutdown”

service.

           b.    March 2, 2024 – Anonymous Sudan offered a

“Limited Internet Shutdown Package,” valid for the following 48


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hours, which would enable customers to shut down internet

service providers (“ISPs”) in specified countries for $500 (USD)

an hour.

           c.    March 3, 3024 – Anonymous Sudan claimed credit

for “Huge Bahrain Telecom Cyber Attack,” targeting a prominent

Bahrainian ISP called “Zain.”      Anonymous Sudan posted

screenshots and other images to demonstrate the impact of the

attacks and the resulting disruptions and damages to the victim.

Anonymous Sudan then directly addressed the victim, stating,

“Zain, if you want us to stop contact us at InfraShutdown_bot

and we can make a deal.”

                 i.   I know from my training and experience that

this behavior –- soliciting a payment from the DDoS victim in

exchange for stopping the attacks -- is referred to as DDoS

extortion, which is a common tactic found in the DDoS space,

especially for services such as Anonymous Sudan whose attacks

generate more traffic than smaller ISPs can withstand.

           d.    March 4, 2024 – Anonymous Sudan reposted messages

from Zain, in which Zain was attempting to explain the

disruption to its customers.      Anonymous Sudan mocked Zain’s

response and encouraged Zain to reach out directly to Anonymous

Sudan.   Anonymous Sudan then posted screenshots seeming to

indicate that internet service had been entirely disrupted

throughout Zain’s network.      Later the same day, Anonymous Sudan

threatened other ISPs in Bahrain, stating, “The turn is coming

up for the rest of the telecom companies in Bahrain... Everyone

go back to their offices.”


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                 i.   I am aware that concurrent to these attacks,

U.S. government-contracted internet services within Bahrain were

impacted.   I am still seeking information from Bahrainian

authorities on the extent of the damage resulting from these

attacks.

            e.   March 5, 2024 - Anonymous Sudan provided a

screenshot indicating that services were down at Facebook. 5

Anonymous Sudan then claimed credit for an attack against

another major U.S. ISP and provided a link to a news article

discussing the attack.     Anonymous Sudan also provided an update

on the attack against Zain, stating that “we have finally

reached a deal with them.”      Several hours later, Anonymous Sudan

claimed to have conducted a “Huge Egypt Telecom Cyber Attack,”

and began to provide evidence supporting their claims of causing

a major disruption to this ISP.       Anonymous Sudan also provided a

justification for the attack: “to send a message to the Egyptian

government that they should hold accountable anyone who insults

Sudanese people on social media, just as we do in Sudan to those

who insult Egyptians.”     Interspersed with posts offering proof

of the impact and damages resulting from these attacks were

solicitations to sign up for the Skynet Botnet service, priced

at $150 per day, with up to 100 attacks per day.

            f.   March 6, 2024 – Anonymous Sudan claimed credit

for attacks against additional ISPs in Egypt.


     5 I am aware of public reports regarding outages at Facebook
around this same time. I was told via a third party that these
disruptions were due to internal problems, and not a DDoS
attack.
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           g.     March 12, 2024 - Anonymous Sudan posted that they

had conducted “a massive cyber-attack on the Infrastructure of

the State of Alabama.”     Media reporting noted that the websites

of multiple Alabama State government agencies had been affected,

causing intermittent disruptions of those sites and diverting

state resources to deal with the attacks.

           h.     March 15, 2024 – Anonymous Sudan posted, “We have

conducted a massive cyber-attack on the infrastructure of a

critical US federal executive department: United States

Department of Justice,” adding, “We therefore claim any damage

to the overall health of the infrastructure of the United States

Department of Justice.”      I am aware from speaking with many

users within the Department of Justice that its systems were in

fact degraded on that date, resulting in inaccessibility to web-

based services.

     C.    Functioning of the “botnet”

      22. Among the victims of the Skynet Botnet were several

customers using Amazon Web Services.         I have interviewed

employees at Amazon who examined data associated with Skynet

Botnet attacks against Amazon customers.         They determined that

the attacks were being transmitted not from compromised victim

devices, as would ordinarily be the case with a botnet, but from

devices that were configured to automatically forward certain

categories of Internet traffic.          Also called “Open Proxy

Resolvers,” these “auto-forwarding” devices comprise the public

part of the Skynet Botnet, and they were often the only

information a Skynet Botnet attack victim would see in their


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after negotiation, he agreed to accept payment of $600 via

bitcoin.    In the exchange, the cooperating witness asked

WilfordCEO if the cooperating witness was buying access to

Skynet or the Godzilla botnet.       WilfordCEO replied, “all same,”

confirming my understanding that these names are used

interchangeably to refer to the same DDoS tool.          WilfordCEO

assured the cooperating witness that the attack methods were

“strong.”    When told that we intended to attack major platforms

like Google and Amazon, WilfordCEO replied that the best attack

method would be “overload.”

      25. After the cooperating witness provided WilfordCEO with

a proposed username and password, WilfordCEO replied with the

message “193.149.180.43 221 ssh.”        Based on my training and

experience, I understood that WilfordCEO was indicating that the

cooperating witness should log in to the referenced IP address,

using Secure Shell Protocol (SSH), via port 221.          Accordingly, I

did so, entering the login and password credentials that were

previously provided to WilfordCEO.        Upon logging in, I was

greeted with a text-based landing page that I recognized from

previous Anonymous Sudan and Skynet Telegram posts.           A

screenshot of this landing page appears below:




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many cases, I was able to correlate attacks launched by the

Administrator, or “root” account, to actual attacks claimed by

Anonymous Sudan in their Telegram account, including many of the

attacks described above.      This also confirmed my understanding

that WilfordCEO is one of the actors behind Anonymous Sudan.            I

was additionally able to locate my covert account, and a listing

of the attacks that I had launched during my covert testing of

the service, confirming that the database contained accurate

data.     In total, this data indicated that in approximately one

year of operation, Anonymous Sudan’s Skynet DDoS tool had been

used to launch over 35,000 DDoS attacks.         At least 70 unique IP

addresses within Los Angeles County alone were attacked during

this same one-year period.

     E.     Identification of AHMED

        28. During my investigation, I have consulted with various

private sector companies, including companies such as PayPal

that were attacked by Anonymous Sudan.         In an interview with

PayPal employees, I learned that after PayPal performed its own

independent investigation of Anonymous Sudan in the wake of the

DDoS attacks it suffered, PayPal identified certain accounts on

its platform that it believed were likely used by Anonymous

Sudan actors.     I obtained records related to the email accounts

linked to these PayPal accounts.         Those records led me to

identify several email accounts used by AHMED.

        29. I have reviewed administrative login information from

the various Anonymous Sudan servers I have searched, and I found

many instances when administrator logins to Anonymous Sudan


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agreed to waive those rights and speak with me.          During the

interview, among other things, the sibling stated that he was

familiar with the “Godzilla” DDoS tool (one of the alternative

names for the Skynet Botnet, as previously described), which

employs back-end code that he wrote, and he claimed that AHMED

is primarily responsible for that tool, which AHMED operates

using a laptop computer from, among other places, their shared

home in Sudan.

      36. Prior to my interview with the sibling, I had observed

a post by Anonymous Sudan on Telegram threatening to conduct a

DDoS attack against the United Arab Emirates.          Approximately an

hour into the interview, I observed a new message posted in the

Anonymous Sudan Telegram channel stating that the attack had

started.    I do not believe that the sibling could have initiated

this attack, as I was interviewing the sibling during the time

the attack began.     Shortly after, I asked the sibling to

communicate telephonically with AHMED.        The sibling communicated

with AHMED in Arabic (a language that I do not speak).           The

sibling then informed me that he had asked AHMED to stop the

attack, and that the attack in fact had been stopped, and the

corresponding Anonymous Sudan Telegram post had been deleted.             I

have not yet independently verified the attack against the

United Aram Emirates; however, based on my training and

experience, AHMED’s apparent ability to end the attack, and his

apparent deletion of the Telegram post, provides further

evidence of his use and control of the Skynet Botnet, and his

control over Anonymous Sudan’s Telegram channel.


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     G.    Interview of AHMED

      37. On March 20, 2024, after interviewing AHMED’s sibling,

I then interviewed AHMED

                           AHMED was advised of his Miranda rights
and agreed to waive those rights and speak to me.          During the

interview, among other things, AHMED admitted that he was the

individual behind the moniker WilfordCEO (with whom I

communicated to purchase access to the Skynet Botnet, as

previously described), and that he was involved with the

administration of the Skynet Botnet and Anonymous Sudan.

                             V. CONCLUSION

      38. For the reasons described above, there is probable

cause to believe that AHMED has violated 18 U.S.C. § 371,

Conspiracy to violate 18 U.S.C. § 1030(a)(5)(A), (c)(4)(B)(i),

(c)(4)(A)(i)(I) and (VI) (Intentionally Damaging a Protected

Computer).




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 20th day of
March, 2024.



HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE




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